
DAVIS, Judge.
M.J.T. challenges the trial court’s order requiring him to pay $1113.57 in restitution. The State concedes that the explanation of medical benefits (EOMB) forms that were introduced to support the victim’s claim for medical costs were not properly admitted. We agree and, accordingly, reverse and remand for a new restitution hearing.
*1078The only evidence introduced at the restitution hearing to support the victim’s medical costs were the EOMB forms, which specifically state that they are not medical bills. While medical bills may be introduced without producing the records custodian to testify, A. J. v. State, 677 So.2d 935, 938 (Fla. 4th DCA 1996), the documents here were not bills. Because the EOMB forms were hearsay, to which M.J.T.’s counsel objected at the hearing, the trial court erred in awarding restitution based on the amounts shown on those EOMB forms.
Accordingly, we reduce the $1113.57 restitution award by $909.38, the amount improperly awarded for medical bills, and remand for another restitution hearing to determine the proper amount of medical expenses. See Williams v. State, 850 So.2d 627 (Fla. 2d DCA 2003).
Reversed and remanded.
SALCINES and LaROSE, JJ., Concur.
